      Case 3:23-cv-00082-SRU        Document 191     Filed 12/13/24    Page 1 of 9




                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT



WILLIAM MCGREEVY, ASHWIN GOWDA,                      Civil Action No. 3:23-cv-00082-SRU
TRANSLUNAR CRYPTO, LP, CHRISTOPHER
BUTTENHAM, REMO MARIA MORONE,
DOMINIC MACRI, LARRY WIENER, DEREK
WILSON, DANIEL AMELI, and LEE JACOBSON,              CLASS ACTION
Individually and on Behalf of All Others Similarly
Situated,                                            Hon. Stefan R. Underhill
                              Plaintiffs,

       v.
                                                     December 13, 2024
DIGITAL CURRENCY GROUP, INC., BARRY
SILBERT, MICHAEL KRAINES, MARK
MURPHY, SOICHIRO “MICHAEL” MORO, and
DERAR ISLIM
                     Defendants.




             REPLY MEMORANDUM IN FURTHER SUPPORT OF
       DEFENDANT SOICHIRO “MICHAEL” MORO’S MOTION TO DISMISS
               PLAINTIFFS’ THIRD AMENDED COMPLAINT
         Case 3:23-cv-00082-SRU                         Document 191                  Filed 12/13/24                Page 2 of 9




                                                   TABLE OF CONTENTS

PRELIMINARY STATEMENT .................................................................................................... 1

ARGUMENT .................................................................................................................................. 1

          I.         PLAINTIFFS ALLEGE NO FACTS DEMONSTRATING MR. MORO
                     ACTED WITH THE REQUISITE SCIENTER. .................................................... 1

          II.        PLAINTIFFS’ CONTORTED AND INCONSISTENT DEFINITION OF
                     THE “SECURITY” AT ISSUE UNDERMINES THEIR SECURITIES
                     CLAIMS. ................................................................................................................ 3

                     A.         Plaintiffs Fail to Allege There Was A Sale of Any Security ...................... 4

                     B.         Plaintiffs Fail To Allege Mr. Moro Can Be Liable for “Scheme
                                Liability” ..................................................................................................... 5

CONCLUSION ............................................................................................................................... 7




                                                                      -i-
       Case 3:23-cv-00082-SRU                Document 191          Filed 12/13/24         Page 3 of 9



                                    PRELIMINARY STATEMENT

        After filing four complaints in this action and a combined 179 pages across two memoranda

in opposition to motions to dismiss, two things remain apparent. First, Plaintiffs are still unable

to articulate a consistent (much less coherent) definition for what constitutes the “security” on

which all of Plaintiffs’ Securities Act and Exchange Act claims are based.1 The explanation for

this remains simple: there are no securities at issue in this case. Second, Plaintiffs are unable to

articulate any basis on which Mr. Moro would be liable for violations of the federal securities laws

(if there were securities at issue) or state consumer protection laws (if there are not). The

explanation for this remains equally simple: Mr. Moro did not violate any laws—whether through

“scheme liability” under Section 10(b) and Rule 10b-5 of the Exchange Act (Count II), control

person liability under Section 15 of the Securities Act or Section 20(a) of the Exchange Act

(Counts I and III), or under any alternative state consumer protection laws (Counts IV and XI).

        The reply brief submitted in support of the DCG Defendants’ motion to dismiss (the “DCG

Reply”) again responds to and dismantles each of Plaintiffs’ arguments in the Opposition that are

common to the Defendants. Mr. Moro joins and incorporates those responses as if fully set forth

herein, and submits this short reply to address two arguments that specifically relate to Mr. Moro

and further justify dismissing all of Plaintiffs’ claims against Mr. Moro with prejudice.

                                               ARGUMENT

I.      PLAINTIFFS ALLEGE NO FACTS DEMONSTRATING MR. MORO ACTED
        WITH THE REQUISITE SCIENTER.

        As Mr. Moro argued in his Motion, none of the allegations in Plaintiffs’ Amended

Complaint regarding scienter address Mr. Moro. Motion at 17-21. Instead, Plaintiffs make

conclusory assertions that the alleged scheme allowed an unrelated subsidiary to allegedly


1
 Capitalized terms used but not defined herein have the same meaning as in the Memorandum in Support of Defendant
Soichiro “Michael” Mor’s Motion to Dismiss Plaintiffs’ Third Amended Complaint (the “Motion”).


                                                       1
       Case 3:23-cv-00082-SRU           Document 191        Filed 12/13/24      Page 4 of 9



maximize management fees, TAC ¶¶ 37-38, and allowed other DCG and Genesis insiders—but

not Mr. Moro—to redeem their loans to Genesis. TAC. ¶¶ 347-350.

       Rather than countering Mr. Moro’s summary of the allegations, Plaintiffs confirm it. When

discussing “motive and opportunity” in the Opposition, Plaintiffs do not mention Mr. Moro even

once, and instead point to only three allegations that are entirely unrelated to Mr. Moro: (1) it was

in Defendant DCG’s and Silbert’s interest—but not Mr. Moro’s—to engage in the alleged fraud

because it allegedly increased the management fees earned by a DCG subsidiary; (2) keeping GGC

out of bankruptcy prevented DCG and related entities from having their outstanding loans called

by Genesis, which Plaintiffs allege would have forced DCG into bankruptcy; and (3) executing

the DCG Promissory Note allowed Silbert and other Genesis and DCG insiders—but not Mr.

Moro—to withdraw capital from Genesis by redeeming their investments. Opposition at 60-64.

       Accordingly, Plaintiffs all but concede that the Amended Complaint fails to allege that Mr.

Moro had the requisite “motive and opportunity” to commit fraud necessary to establish scienter.

In re Carter-Wallace, Inc. Sec. Litig., 220 F.3d 36, 39 (2d Cir. 2000). Similarly, Plaintiffs offer

no explanation as to how their limited allegations against Mr. Moro in support of their scheme

liability claim—namely, that he sent a few tweets in June and July 2022 and otherwise allegedly

“caused” certain unidentified financial documents that were supposedly false and misleading to be

disseminated to Gemini—satisfy the “significant burden” for pleading scienter through conscious

misbehavior or recklessness. Chill v. GE, 101 F.3d 263, 270 (2d Cir. 1996); compare Motion at

19-21 with Opposition at 63-64. Instead, Plaintiffs simply assert that they “have adequately pled”

scienter and cite portions of the Third Amended Complaint that simply list the alleged conduct

without any discussion of motive, opportunity, conscious misbehavior, or recklessness. Id. (citing

TAC ¶¶ 43-47, 587-88, 600-02, 609-11). Plaintiffs’ failure to plead facts showing Mr. Moro acted

with scienter requires dismissal of their primary Section 10(b) and Rule 10b-5 claims against him.



                                                -2-
       Case 3:23-cv-00082-SRU                Document 191          Filed 12/13/24         Page 5 of 9



II.     PLAINTIFFS’ CONTORTED AND INCONSISTENT DEFINITION OF THE
        “SECURITY” AT ISSUE UNDERMINES THEIR SECURITIES CLAIMS.

        Plaintiffs’ claim that Defendants, including Mr. Moro, “[ignore] the economic reality of

the security purchases at issue in the Action,” see e.g., Opposition at 11, yet it is Plaintiffs who

ignore the economic reality that the transactions at issue here were not securities, but were loans

of digital assets in exchange for a contractually-obligated Loan Fee tied exclusively to the market.

See DCG Reply § I(A). While Defendants have consistently argued this position, Plaintiffs have

advanced, and continue to advance, ever-shifting definitions of the “security” at issue here.

        In each of their first three complaints, Plaintiffs clearly alleged that the Lending

Agreements themselves were the “securities.” See, e.g., ECF No. 1, Complaint, at ¶¶ 95 (“the

Lending Agreements qualify as ‘investment contracts’; and … the Lending Agreements qualify as

‘notes’ under Reves…”); ECF No. 60, First Amended Complaint, at § IX (“The Genesis Yield

Investment Agreements Are Securities”);2 ECF No. 135, Second Amended Complaint, at § IX

(same). In their Omnibus Opposition to Defendants’ Motions to Dismiss the Second Amended

Complaint, ECF No. 147, Plaintiffs effectively admitted that the Lending Agreements themselves

were not securities by amending their definition to include the Lending Agreements as well as

each lenders’ later decision to lend digital assets to Genesis pursuant to a Lending Agreement. Id

at 7. Finally, in their Third Amended Complaint, Plaintiffs simply replaced references to the

“Genesis Yield Investment Agreements” with “Genesis Yield Securities” using their newly-

concocted definition. See TAC at § X (“The Genesis Yield Securities Are a ‘Security’ Under the

Federal Securities Laws”).

        Despite Plaintiffs’ repeated attempts to plead otherwise, these contracts are not securities

for all of the reasons outlined in DCG’s briefing, see DCG Memorandum at § I(A); DCG Reply at


2
 Plaintiffs’ change from initially pleading “Lending Agreements” to later pleading “Investment Agreements” should
be seen for the transparent attempt to obscure the economic realities of the contracts at issue that it is.


                                                      -3-
        Case 3:23-cv-00082-SRU                   Document 191             Filed 12/13/24           Page 6 of 9



§ I(A), and their latest arguments in support of their scheme liability claims continue to conflict

with what they now purport to be the securities at issue.

         A.        Plaintiffs Fail to Allege There Was a Sale of Any Security

         As Mr. Moro argued in his Motion, there is no credible allegation that the “securities,”

even under Plaintiffs’ revised definition, could be “purchased” or “sold.” Motion at 27. Entering

into Lending Agreements alone could not constitute a “sale” or “purchase” because the contracts

allowed, but did not require, counterparties to provide any digital assets to Genesis. In the event

a counterparty later transferred digital assets to Genesis, still no “sale” or “purchase” occurred

because those assets were lent to Genesis in exchange for a Loan Fee.

         In an attempt to circumvent the economic reality of these transactions, Plaintiffs appear to

argue that entering into a contract permitting a party to make a loan of digital assets, and a later-

in-time loan of digital assets pursuant to that contract, transforms the transaction from a loan to a

sale. Opposition at 10-13. That a sale can be based on multiple documents entered into over time

is not in dispute. But Plaintiffs fail to allege that any sale actually occurred—whether by entering

into the Lending Agreements, by lending digital assets at a later date, or by some combination of

the two. Instead, Plaintiffs merely cite to inapposite cases that discuss when a sale occurred, not

whether a sale occurred. Id.3 As such, Plaintiffs have failed to show the Lending Agreements, or




3
 See, e.g., Radiation Dynamics, Inc. v. Goldmuntz, 464 F.2d 876, 890-91 (2d Cir. 1972) (discussing when the purchase
of shares of stock in a company occurred); Vacold LLC v. Cerami, 545 F.3d 114, 122 (2d Cir. 2008) (discussing
whether a contract for the purchase of stock was binding); Yoder v. Orthomolecular Nutrition Inst., 751 F.2d 555, 559
(2d Cir. 1985) (discussing contract for sale of stock). Plaintiffs’ remaining arguments regarding an “offer” assume
that there could be a “sale” of these contractual arrangements in the first place, which Plaintiffs have failed to allege.
That caselaw is further distinguishable from the facts here as they related to the offer to sell securities, while there are
no securities at issue in this case. See, e.g., Chris-Craft. Indus. V. Bangor Punta Corp., 426 F.2d 569, 574 (2d Cir.
1970) (relating to exchange of shares); Cap. Real Estate Inv’rs Tax Exempt Fund Ltd. P’ship v. Schwartzberg, 929 F.
Supp. 105, 112-13 (S.D.N.Y. 1996) (discussing merger of recommendation that investors approve transaction); SEC
v. Blockfest, 2019 WL 625163 (S.D. Cal. Feb. 14, 2019) (discussing initial coin offering (ICO) where coin entitled
users to profits, shares of assets, and voting rights, and which could be listed on online trading platforms).


                                                            -4-
       Case 3:23-cv-00082-SRU           Document 191         Filed 12/13/24      Page 7 of 9



the relationship they formed between parties, could be “sold” or “purchased” (much less that they

actually were) as required to support Plaintiffs’ claims.

       Plaintiffs’ efforts to argue around the economic reality of the parties’ relationship under

the Lending Agreements further betrays the inconsistencies and unworkability in their own

definition of the “security.” At times, Plaintiffs argue that the “Genesis Yield securities” include

both the Lending Agreements and the subsequent loans of digital assets. Opposition at 7. But in

this section, Plaintiffs argue that the Lending Agreements are separate from the “Genesis Yield

securities.” For example, Plaintiffs state “by entering into the [Lending Agreements], investors

sought an opportunity to invest in Genesis Yield securities.” Opposition at 11 (emphasis added).

But if the Lending Agreements merely provide an opportunity to invest in the security, the Lending

Agreements cannot themselves be the security. Later, Plaintiffs argue that Genesis “at a minimum,

‘offered’ Genesis Yield securities … through the [Lending Agreements] and related marketing and

solicitations.” Id. at 13. But again, if the Lending Agreements constitute part of the “offer” to sell

the security, they cannot simultaneously be the security itself. Plaintiffs’ inability to consistently

articulate what is and is not the security at issue only supports Defendants’ argument that there are

no securities at issue in this case. DCG Memo at § I(A); DCG Reply at §I(A),

       B.      Plaintiffs Fail To Allege Mr. Moro Can Be Liable for “Scheme Liability”

       With regards to Plaintiffs’ claims against Mr. Moro for “scheme liability,” Plaintiffs

continue to point to the “Solvency Warranty” included in the Lending Agreements. Opposition at

55 (citing TAC ¶¶ 141-44, 462, 687). As discussed in Mr. Moro’s Motion, under Plaintiffs’ theory

as articulated in the Third Amended Complaint, Plaintiffs do not, and cannot, allege that these

“representations” were false at the time they were made, specifically because (1) Plaintiffs

executed their Lending Agreement long before June 2022 when Plaintiffs allege Genesis became

insolvent (in fact, Genesis was not insolvent at that time), and (2) Plaintiffs have not alleged that



                                                 -5-
        Case 3:23-cv-00082-SRU                  Document 191            Filed 12/13/24          Page 8 of 9



any other lender or class member executed a Lending Agreement at any time following Three

Arrows Capital’s July 1, 2022 bankruptcy filing or DCG’s assumption of Genesis’ liabilities

related to Three Arrows Capital. Motion at 11-12 (citing In re Lululemon Sec. Litig., 14 F. Supp.

3d 553, 577 (S.D.N.Y. 2014), aff’d, 604 F. App’x 62 (2d Cir. 2015) (“A violation of Section 10(b)

and Rule 10b-5 premised on misstatements cannot occur unless an alleged material misstatement

was false at the time it was made.”) (emphasis added).4

         Rather than curing this defect, Plaintiffs’ effort to circumvent it by advocating for an absurd

result whereby statements in the Lending Agreements that were undeniably true when made—i.e.

when the agreements were entered into by the parties before Genesis’ alleged June 2022

insolvency—will be considered to be made again at later date, not because Genesis actually made

a representation or even re-affirmed the prior representation in any way, but simply because a

lender (i.e., one of the Plaintiffs) later decided to loan digital assets pursuant to the Lending

Agreement they had signed years earlier. Tellingly, Plaintiffs cite no caselaw to support such a

proposition that would impose liability on Genesis, much less any authority suggesting Mr. Moro

could be found liable for “causing” Genesis to repeatedly make such representations. That said, if

the Court were to accept Plaintiffs’ theory that the Solvency Representation was “ongoing” and

Genesis made the representation each time a counterparty lent assets to Genesis, Plaintiffs’ failure

to plead any facts demonstrating that Mr. Moro caused Genesis to make the statement, a key

element of their scheme liability claim, is even more glaring. Given Plaintiffs failed to plead any

facts demonstrating how Mr. Moro “caused” Genesis to make the representation in the Lending




4
  It is also well settled law that misstatements “cannot form the sole basis” for scheme liability. See, e.g., Lorenzo v.
SEC, 139 S. Ct. 1094, 1099 (2019); SEC v. Rio Tinto plc, 41 F.4th 47, 53 (2d Cir. 2022). Because neither Plaintiffs’
Amended Complaint nor their Opposition demonstrates any instance where Mr. Moro disseminated any false or
misleading statements made by Genesis (or anyone else), including the Solvency Warranty in the Lending
Agreements, Mr. Moro cannot bear primary scheme liability even if the Solvency Warranty were a misrepresentation
at the time it was made (which it was not). See Rio Tinto, 41 F.4th at 53-54.


                                                          -6-
       Case 3:23-cv-00082-SRU           Document 191        Filed 12/13/24    Page 9 of 9



Agreements, even when that representation was only alleged to have been made once in the first

instance, Motion at 11-12, this failure is exponentially worse if Mr. Moro somehow “caused”

Genesis to make this representation every time one of the lenders loaned their digital assets to

Genesis pursuant to their Lending Agreement. Such a result is untenable and Plaintiffs’ scheme

liability claims should be dismissed.

                                         CONCLUSION

       For the foregoing reasons, together with the arguments set forth in Mr. Moro’s initial

Motion as well as in the DCG Defendants’ Motion and Reply, Mr. Moro respectfully requests that

the Court dismiss Plaintiffs’ Third Amended Complaint against him in its entirety and with

prejudice for failure to state claims upon which relief can be granted.



Dated: December 13, 2024

                                                /s/ Christian D. H. Schultz

 SPEARS MANNING & MARTINI LLC                   ARNOLD & PORTER KAYE SCHOLER LLP
 Joseph W. Martini (CT07225)                    Marcus Asner (pro hac vice)
 2425 Post Road, Suite 203                      Tyler Fink (pro hac vice)
 Southport, CT 06890                            Kodjo Kumi (pro hac vice)
 Telephone: (203) 292-9766                      250 W 55th Street
 jmartini@spearsmanning.com                     New York, NY 10019
                                                Telephone: (212) 836-8000
                                                marcus.asner@arnoldporter.com

                                                Christian D. H. Schultz (pro hac vice)
                                                601 Massachusetts Ave, NW
                                                Washington, DC 20001-3743
                                                Telephone: (202) 942-5000
                                                christian.schultz@arnoldporter.com

                                                Counsel to Defendant Soichiro “Michael” Moro




                                                -7-
